
The judgment of the general court was as follows:
“It seems to a majority of the court here, that the judgment of the circuit superior court is erroneous as to the plaintiff in error Archibald Forgay, but that there is no error therein as to the plaintiffs in error Samuel E. Jones and Philip Counts: Therefore it is considered that the said judgment, as to the said Archibald Forgay, *452be reversed and annulled; that the verdict, as to him, be set aside; and that the cause, as to him, be remanded to the said circuit superior court, for a new trial to be had therein upon the information according to law: and it is further considered that as to the said Samuel E. Jones and Philip Counts, the said judgment be affirmed, and that the commonwealth recover against them her costs about her defence in this court expended.”
